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EC 520 UNITED STATES DISTRICT COURT
michter’w. Coagins NORTHERN DISTRICT OF ILLINOIS
CLERK, U.S. DISTRICT COURT EASTERN DIVISION
JUDGE CASTILLO
UNITED STATES OF AMERICA) JUDGE CAST
) No. 08CR192
. ) MAGISTRATE JUDGE BROWN
) Violations: Title 18, United States Code,
HANJUAN JIN ) — Sections 1831(a)(3); 1832(a)3);
)
)

Superseding Indictment

COUNT ONE

The SPECIAL FEBRUARY 2008-1 GRAND JURY charges:
l. At times material to this indictment:

a. Company A was a company based in the Chicago suburbs that
sold telecommunications products and services in the United States and internationally.

b. Company B was a company based in China and engaged in the
telecommunications business. Company B contributed to the Chinese national defense and
developed telecommunications technology and products for the Chinese military.

ee Defendant HANJUAN JIN (“JIN”) worked for Company
A as a software engineer beginning in or about 1998. In connection with her employment
with Company A, JIN received regular training regarding the protection of proprietary

information belonging to Company A.
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d. In or about February 2006, defendant JIN took a medical leave
of absence from Company A, during which time she received no work assignments from
Company A.

é. From in or about June 2006 until in or about December 2006,
defendant JIN discussed, negotiated and ultimately accepted employment in China with
Company B, where she was to work on developing telecommunications software. During
this period of time, JIN was consulted by Company B representatives on projects in which
Company B was working with the Chinese military.

f. On or about February 23, 2007, after accepting employment in
China with Company B, defendant JIN advised Company A that she was ready to end her
medical leave and return to full-time work with Company A. Defendant JIN did not advise
Company A that she had accepted employment with Company B.

2. On or about February 24, 2007, defendant JIN purchased a one-
way ticket to China for a flight scheduled to leave on February 28, 2007.

h. On or about the morning of February 26, 2007, defendant JIN
returned to Company A, purportedly to resume full-time work, JIN was given no
assignments on that day. Between approximately 9:00 a.m. and 2:00 p.m. on February 26,
2007, defendant JIN downloaded over 200 technical documents belonging to Company A on

Company A’s secure internal computer network.
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i. At approximately 9:00 p.m. on February 26, 2007, defendant JIN
returned to her Company A office building and downloaded technical documents belonging
to Company A on Company A’s secure internal computer network, and removed numerous
documents and other materials from the offices of Company A.

j. On or about February 27, 2007, at approximately 12:15 p.m,
defendant JIN emailed her manager at Company A informing him that she was resigning
from Company A.

k. On or about February 27, 2007, at approximately 10:00 p.m.,
defendant JIN returned to her Company A office building and downloaded numerous
technical documents belonging to Company A on Company A’s secure internal computer
network.

1, On or about February 28, 2007, at approximately 12:00 p.m.,
defendant JIN traveled to O'Hare International Airport in Chicago, Illinois, for the purpose
of departing to China, At the time she attempted to travel to China, JIN had in her possession
over 1,000 electronic and paper documents belonging to Company A containing technical
information related to telephone communications technology, certain of which were marked
as containing confidential and proprietary information belonging to Company A.
Additionally, at the same time, JIN also had in her possession documents drafted by
Company B containing Chinese military applications for certain telephone communications
technology, including documents titled “Data Packet Format Protocol of Artillery’s Quick

Counter Short Messaging Application System” and “Military Portable Mobile Cellular
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Communication System.” Additionally, at the same time, JIN also had in her possession
Chinese military documents containing military telephone communications technology
including documents titled “Combat Use Requirements and Major Tactical Technology
Specifications of Military Comprehensive Mobile Communication Systems” and “Military
CDMA Mobile Communication System Soft Switching Flexible System Technology
Requirement.”

2. On or about February 28, 2007, at O’Hare International Airport, in the
Northern District of Illinois, and elsewhere,

HANJUAN JIN,

defendant herein, with intent to convert a trade secret to the economic benefit of someone
other than the owner thereof, knowingly and without authorization did possess one or more
trade secrets belonging to Company A, specifically a proprietary document containing
proprietary engineering information entitled, in part, “Support for Horizontal Dispatch
Networking SAD-172," such trade secrets being related to or included in products produced
for and placed in interstate and foreign commerce, intending and knowing that the offense
would injure Company A, and knowing that the proprietary information was stolen,
appropriated, obtained and converted without authorization;

In violation of Title 18, United States Code, Section 1832(a)(3).
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COUNT TWO

The SPECIAL FEBRUARY 2008-1 GRAND JURY further charges:

1, The Grand Jury realleges paragraph 1 of Count One as though fully set
forth herein.

2, Onor about February 28, 2007, at O’Hare International Airport, in the
Northern District of Illinois, and elsewhere,

HANJUAN JIN,

defendant herein, with intent to convert a trade secret to the economic benefit of someone
other than the owner thereof, knowingly and without authorization did possess one or more
trade secrets belonging to Company A, specifically a proprietary document containing
proprietary engineering information entitled, in part, “EOTD-based E911 Location without
HAMER,” such trade secrets being related to or included in products produced for and placed
in interstate or foreign commerce, intending and knowing that the offense would injure
Company A, and knowing that the proprietary information was stolen, appropriated, obtained
and converted without authorization:

In violation of Title 18, United States Code, Section 1832(a)(3),
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COUNT THREE

The SPECIAL FEBRUARY 2008-1 GRAND JURY further charges:

1. The Grand Jury realleges paragraph 1 of Count One as though fully set
forth herein.

2, On or about February 28, 2007, at O’Hare International Airport, in the
Northern District of Illinois, and elsewhere,

HANIJUAN JIN,

defendant herein, with intent to convert a trade secret to the economic benefit of someone
other than the owner thereof, knowingly and without authorization did possess one or more
trade secrets belonging to Company A, specifically a proprietary document containing
proprietary engineering information entitled “Base Station System MOBIS Call Processing
Interface Specification,” such trade secrets being related to or included in products produced
for and place in interstate or foreign commerce, intending and knowing that the offense
would injure Company A, and knowing that the proprietary information was stolen,
appropriated, obtained and converted without authorization;

In violation of Title 18, United States Code, Section 1832(a)(3).
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COUNT FOUR

The SPECIAL FEBRUARY 2008-1 GRAND JURY further charges:

1. The Grand Jury realleges paragraph 1 of Count One as though fully set
forth herein.

2. On or about February 28, 2007, at O’Hare International Airport, in the
Northern District of Illinois, and elsewhere,

HANJUAN JIN,

defendant herein, intending and knowing that the offense would benefit a foreign
government, namely the People’s Republic of China, specifically its military, did knowingly
possess trade secrets belonging to Company A, specifically a proprietary document

containing proprietary engineering information entitled, in part, “Support for Horizontal

Dispatch Networking SAD-172," knowing that the proprietary information was stolen,

appropriated, obtained and converted without authorization;

In violation of Title 18, United States Code, Section 1831(a)(3).
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COUNT FIVE

The SPECIAL FEBRUARY 2008-1 GRAND JURY further charges:

1. The Grand Jury realleges paragraph 1 of Count One as though fully set
forth herein.

2, On or about February 28, 2007, at O'Hare International Airport, in the
Northern District of Illinois, and elsewhere,

HANJUAN JIN,

defendant herein, intending and knowing that the offense would benefit a foreign
government, namely the People’s Republic of China, specifically its military, did knowingly
possess trade secrets belonging to Company A, specifically a proprietary document
containing proprietary engineering information entitled, in part, “EOTD-based E911
Location without HAMR,” knowing that the proprietary information was stolen,
appropriated, obtained and converted without authorization;

In violation of Title 18, United States Code, Section 1831(a)(3).
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COUNT SIX

The SPECIAL FEBRUARY 2008-1 GRAND JURY further charges:

l, The Grand Jury realleges paragraph 1 of Count One as though fully set
forth herein.

2. On or about February 28, 2007, at O'Hare International Airport, in the
Northern District of Illinois, and elsewhere,
HANJUAN JIN,

defendant herein, intending and knowing that the offense would benefit a foreign
government, namely the People’s Republic of China, specifically its military, did knowingly
possess trade secrets belonging to Company A, specifically a proprietary document
containing proprietary engineering information entitled, “Base Station System MOBIS Call
Processing Interface Specification,” knowing that the proprietary information was stolen,
appropriated, obtained and converted without authorization;

In violation of Title 18, United States Code, Section 1831(a)(3).
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The SPECIAL FEBRUARY 2008-1 GRAND JURY further alleges:

1. As a result of the violation of Title 18, United States Code, Sections

1832(a)(3), as alleged in the foregoing Indictment,

HANJUAN JIN,

defendant herein, shall forfeit to the United States, pursuant to Title 18, United States Code,

Section 1834, any and. all property constituting, and derived from, any proceeds the

defendants obtained, directly and indirectly, as a result of the violations; and (2) any and all

of property used, and intended to be used, in any manner or part, to commit and facilitate the

commission of the violations, including the following:

a,

IBM Thinkpad, Computer Laptop, Model: 2686 1P41V9706, Serial
Number: 1S2686M3SUL3AA2 YT;

IOGEAR Ion Drive, External Data Storage Device (RAID/etc), USB
Hard drive enclosure, Serial Number OU-69USE102014, Model
Number GHD225U80;

Western Digital, Hard Drive: 2.5" HD, Model Number WD800UE-
OOHCTO, Serial Number WXE406692615;

IBM, Hard Drive 2.5" HD, Model Travelstar ( 07N4055F419400P9B,
Serial Number: RRRJ6840; .

Hitachi, Hard Drive 2.5" HD, Model: HTTS541060G9ATO00, Serial
Number: 11§39T2514Z1ZA VHOORPNE;

Memorex, TravelDrive, Flash Memory (SD/Compact Flash/etc.),
Thumb Drive;

1 K Hypermedia, CD-Recordable, CD-R Multi-Speed, 80min/700MB;

1 Imation, CD-R, 700MB, 80 min, marked "BK#1"; and

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i. 1 Imation, CD-R, 700MB, 80 min, marked "BKH2."

2. If any of the property described above as being subject to forfeiture pursuant
to Title 18, United States Code, Section 1834, as a result of any act or omission of the
defendants:

a. cannot be located upon the exercise of due diligence;
b. has been transferred to, sold to, or deposited with a third person;

c. has been placed beyond the jurisdiction of the Court;

d, has been substantially diminished in value;
e. has been commingled with other property which cannot be subdivided
without difficulty;

it is the intent of the United States to seek forfeiture of substitute property belonging to the
defendants under the provisions of Title 21, United States Code, Section 853(p), as
incorporated by Title 18, United States Code, Section 1834(b).

All pursuant to Title 18, United States Code, Section 1834.

A TRUE BILL:

FOREPERSON

UNITED STATES ATTORNEY

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